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                      America, LLC
                    8
                    9                                   UNITED STATES DISTRICT COURT
                   10                        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   11
                   12 JOSHUA BORKMAN, individually, and on                  CASE NO. 2:16-cv-2225-FMO
                      behalf of other members of the general                (MRWx)
                   13 public similarly situated,
                                                                            DECLARATION OF ERIC Y. KIZIRIAN IN
                   14                      Plaintiff,                       SUPPORT OF STIPULATION TO
                                                                            CONTINUE SCHEDULING CONFERENCE
                   15             vs.
                   16 BMW OF NORTH AMERICA, LLC a
                      Delaware limited liability company,
                   17
                                  Defendant.
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& SMITH LLP                    DECLARATION OF ERIC Y. KIZIRIAN IN SUPPORT OF STIPULATION TO CONTINUE SCHEDULING CONFERENCE
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                    1                                DECLARATION OF ERIC Y. KIZIRIAN
                    2            I, Eric Y. Kizirian, declare as follows:
                    3            1.        I am an attorney duly admitted to practice in all of the courts of the
                    4 State of California and am a partner with Lewis Brisbois Bisgaard & Smith LLP,
                    5 counsel of record for defendant BMW of North America, LLC (“BMW NA”)
                    6 herein. The facts set forth herein are personally known to me and I could and would
                    7 testify competently to them.
                    8            2.        I make this declaration in support of plaintiff Joshua Borkman
                    9    (“Plaintiff”) and BMW NA’s Stipulation to Continue Scheduling Conference and in
                   10    accordance with Paragraph VII of this Court’s Initial Standing Order, which
                   11    requires a stipulation to continue the date of any matter to be “supported by a
                   12    detailed declaration that demonstrates good cause as to why the change in the date
                   13    is essential.”
                   14            3.        I am lead counsel for BMW NA in the above-referenced matter. As set
                   15    forth in this Court’s Order Setting Scheduling Conference, as lead counsel for
                   16    BMW NA, I am required to attend the Scheduling Conference, currently set for
                   17    June 30, 2016.
                   18            4.        I have a scheduling conflict on June 30, 2016 because I am scheduled
                   19    to attend a Fed. R. Civ. P. 30(b)(6) deposition in Los Angeles on the same day in
                   20    the case captioned In re Takata Airbag Prod. Liab. Litigation, MDL 2599 (S.D.
                   21    Fla. Case No. 15-md-02599). This deposition involves a foreign witness who is
                   22    traveling from Japan and was set on April 4, 2016—five days after the above-
                   23    referenced lawsuit was filed.            Because of the foreign witness travel and the
                   24    anticipated attendance of several co-defendants’ at this deposition, the date of the
                   25    deposition cannot be rescheduled.
                   26            5.        I am presently scheduled to be out of town on a family vacation from
                   27    July 15-25, 2016 and on business travel August 10-12, 2016. These are my only

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                    1    after June 30, 2016.
                    2            I declare under penalty of perjury under the laws of the United States that the
                    3 foregoing is true and correct. Executed on June 8, 2016 in Los Angeles, California.
                    4
                                                                                 /s/ Eric Y. Kizirian
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                                                                                         Eric Y. Kizirian
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